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    EXHIBIT E
             Case 1:18-cv-02248-CRC Document 117-5 Filed 11/21/22 Page 2 of 8


         Ronald Swanson
          850-889-5130      swansonjaxbeach@gmail.com                      Jacksonville, Florida



Summary                   I have a broad range of legal experience to include service as both a military and state court trial
                          judge as well as experience as a state court appellate court judge. During military service, I
                          served in operational roles and provided guidance and advice on international law matters of
                          import to senior military leadership.




Skills                    International and operational law.                    Judicial experience.




Experience                09/2011 - 04/2016
                          Appellate Court Judge, First District Court of Appeal, Tallahassee, Fl, Tallahassee, FL
                          Upon retirement from the First District Court of Appeal, Tallahassee, Florida, I was
                          subsequently appointed as a Special Master by the State of Florida Senate, in 2017, to investigate
                          allegations of misconduct by a State of Florida State Senator.

                          04/2003 - 09/2011
                          Circuit Court Judge, First Judicial Circuit, Florida, Pensacola, FL

                          05/2000 - 04/2003
                          County Court Judge, First Judicial Circuit, Florida, Santa Rosa County, FL

                          08/1995 – 05/2000
                          Assistant State Attorney, First Judicial Circuit, Florida

                          04/1975 - 07/1995
                          U.S. Naval Oﬀicer, U.S. Navy Active Duty
                          Retired from the Navy Judge Advocate General's Corps as a Navy Captain. Served in multiple assignments
                          to include special counsel to the Vice Chief of Naval Operations during the first Gulf War, Fleet Judge
                          Advocate, Commander Second Fleet, Military Judge, legal advisor to NATO and U.S. Joint Task Force units,
                          and other assorted assignments. Recipient of Legion of Merit, Meritorious Service Medal, Navy
                          Commendation Medal, Overseas Service Medal, National Defense Medal, and Navy Achievement Medal.




Education And             06/1982
                          LL.M., Criminal/International Law
Training                  George Washington University, Washington, DC
                          Highest Honors

                          12/1973
                          J.D., Law
                          University of Florida, Gainesville, FL

                          06/1970
                          Bachelor of Science
                          Florida State University, Tallahassee, FL
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 / Judge Ronald V. Swanson


                    Judge Ronald V. Swanson




Birthdate: April 16, 1948

Birthplace: Rock Island, IL

Spouse: Diane Bew Swanson

Children/Grandchildren: Daughter, Erika, son-in-law Joel, grandson Hunter, granddaughter
Taylor


Degrees:
     LL.M. (Highest Honors), The George Washington University (1982);
     J.D., The University of Florida (1973);
            Case 1:18-cv-02248-CRC Document 117-5 Filed 11/21/22 Page 5 of 8
     B.S., The Florida State University (1970).

Legal Offices & Positions:
     Appointed to the First District Court of Appeal by Governor Rick Scott in June 2011.
     Circuit Court Judge, First Judicial Circuit, April 2003 to July 2011. Appointed by Governor
     Jeb Bush.
     County Court Judge, Santa Rosa County, May 2000 to April 2003. Appointed by Governor
     Jeb Bush.
     Military Judge, Navy and Marine Corps Trial Judiciary, 1982 to 1985.

Military Service:

Judge Swanson served in the United States Navy’s Judge Advocate General’s Corps for over 20
years, retiring as a Navy Captain in 1995. While on active duty, Judge Swanson served in
numerous assignments to include: in ships of the Atlantic Fleet; as Special Counsel to the Vice
Chief of Naval Operations during the First Gulf War; a 1988 assignment as counsel in the
Persian Gulf; duty at Naval Station, Guantanamo Bay, Cuba; and Commanding Officer, Naval
Legal Service Office Central, Naval Air Station, Pensacola, Florida.

Office of State Attorney:

Upon retirement from the United States Navy, Judge Swanson served as an Assistant State
Attorney, First Judicial Circuit, from August 1995 to May 2000. He was designated Special
Prosecutor for cases of significance, 1998 to 2000.

Honors & Awards:
Military awards and decorations: The Legion of Merit; Meritorious Service Medal (multiple
awards); Navy Commendation Medal (multiple awards); Navy Achievement Medal (multiple
awards); Overseas Service (multiple awards) National Defense Medal.


Other Civic Activities:
     Past Board Member and Vice President, Big Brothers/Big Sisters, Northwest Florida,
     Pensacola, Florida.
     Past Board Member Navy Home, Biloxi, Mississippi.
     Past Senior Warden and Vestry Member, St. Francis of Assisi Episcopal Church, Gulf
     Breeze. Former Rotarian.
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Past member, Inns of Court (Trial).
Member, Board of Directors, K9 for Warriors (2015 to present)
Volunteer, K9 for Warriors (2013 to present)


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Judge Anne Cawthon Booth (/Judges/Previous-Judges/Judge-Anne-Cawthon-Booth)
Judge Edward T. Barfield (/Judges/Previous-Judges/Judge-Edward-T.-Barfield)

Judge Charles E. Miner, Jr. (/Judges/Previous-Judges/Judge-Charles-E.-Miner-Jr)
Judge Michael E. Allen (/Judges/Previous-Judges/Judge-Michael-E.-Allen)
Judge Charles J. Kahn, Jr. (/Judges/Previous-Judges/Judge-Charles-J.-Kahn-Jr)
Judge Peter D. Webster (/Judges/Previous-Judges/Judge-Peter-D.-Webster)
Judge L. Arthur Lawrence (/Judges/Previous-Judges/Judge-L.-Arthur-Lawrence)

Judge Edwin B. Browning, Jr. (/Judges/Previous-Judges/Judge-Edwin-B.-Browning-
Jr)
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Judge Marguerite H. Davis (/Judges/Previous-Judges/Judge-Marguerite-H.-Davis)
Judge William A. Van Nortwick, Jr. (/Judges/Previous-Judges/Judge-William-A.-Van-
Nortwick-Jr)
Judge Philip J. Padovano (/Judges/Previous-Judges/Judge-Philip-J.-Padovano)
Judge Nikki Ann Clark (/Judges/Previous-Judges/Judge-Nikki-Ann-Clark)
Judge Simone Marstiller (/Judges/Previous-Judges/Judge-Simone-Marstiller)
Judge Robert T. Benton, II (/Judges/Previous-Judges/Judge-Robert-T.-Benton-II)
Judge Ronald V. Swanson (/Judges/Previous-Judges/Judge-Ronald-V.-Swanson)
Judge James R. Wolf (/Judges/Previous-Judges/Judge-James-R.-Wolf)
Judge T. Kent Wetherell, II (/Judges/Previous-Judges/Judge-T.-Kent-Wetherell-II)
Judge Allen Winsor (/Judges/Previous-Judges/Judge-Allen-Winsor)
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